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 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-000266-WBS
12                                Plaintiff,             STIPULATION AND [PROPOSED] ORDER TO
                                                         CONTINUE SENTENCING HEARING
13                          v.
14
     ERIC LEMOYNE WILLIS,
15

16                                Defendant.

17

18                                               STIPULATION

19         1.       By previous order, the Court set this matter for sentencing as to Defendant Eric Lemoyne

20 Willis on November 4, 2019.

21         2.       The parties request additional time to prepare for the sentencing hearing.

22         3.       By this stipulation, the parties now move to continue the sentencing hearing until January

23 13, 2020.

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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       1
30    SENTENCING HEARING
             Case 2:18-cr-00266-WBS Document 90 Filed 09/10/19 Page 2 of 2

 1 IT IS SO STIPULATED.

 2

 3
     Dated: September 9, 2019                            MCGREGOR W. SCOTT
 4                                                       United States Attorney
 5
                                                         /s/ ROBERT J. ARTUZ
 6                                                       ROBERT J. ARTUZ
                                                         Special Assistant U.S. Attorney
 7

 8
     Dated: September 9, 2019                            /s/ DANIEL OLSEN
 9                                                       DANIEL OLSEN
10                                                       Counsel for Defendant
                                                         ERIC LEMOYNE WILLIS
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14                                        FINDINGS AND ORDER

15         The sentencing hearing for Defendant Eric Lemoyne Willis is hereby continued to January 13,

16 2020 at 9:00 a.m.

17         IT IS SO ORDERED.

18 Dated: September 10, 2019

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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE   2
30    SENTENCING HEARING
